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                             No. 22-50834



         United States Court of Appeals
              for the Fifth Circuit

U NITED S TATES   OF   A MERICA ,

                                                            Plaintiff–Appellant,

                                      v.

J OSE G OMEZ Q UIROZ ,

                                                           Defendant–Appellee.


             Appeal from the United States District Court
                  for the Western District of Texas
                        No. 4:22-CR-104-DC


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             R ECOMMENDATION           ON   O RAL A RGUMENT

     The government requests oral argument. This case calls on the Court

to apply the Second Amendment framework set out in New York State Rifle

& Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111 (2022). Bruen addressed a total

ban on carrying handguns in public, subject only to a discretionary licens-

ing regime requiring the applicant to show a special need for protection.

The district court ruled that Bruen facially invalidates 18 U.S.C. § 922(n),

a narrow, status-based provision preventing indicted defendants from

amassing guns while subject to a felony prosecution. That judicial invali-

dation of a law passed by Congress and signed by the President constitutes

a decision of great importance, and oral argument would significantly aid

the decisional process. See Fed. R. App. P. 34(a).




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                              J URISDICTION

     The government appeals a final order dismissing the indictment in a

criminal case. (ROA.309.) The district court had jurisdiction under 18
U.S.C. § 3231. The government timely noticed this appeal. (ROA.310–11.)

See Fed. R. App. P. 4(b)(1)(B)(i). This Court has jurisdiction under 18

U.S.C. § 3731.

                      S TATEMENT      OF THE    I SSUES

     Quiroz was charged with buying a gun while under felony indict-

ment, see 18 U.S.C. § 922(n), and lying about his status as an indicted de-

fendant in connection with the purchase, see id. § 922(a)(6). The district
court ruled that § 922(n) violates the Second Amendment. It also ruled

that because Quiroz could not be constitutionally prohibited from buying

a gun based on his indictments, he could not be prosecuted for lying about
them. The court thus dismissed both charges.

     I.    Does § 922(n) violate the Second Amendment?

     II.   Can Quiroz defend against a charge of lying about meeting the

           statutory qualifications to buy a gun by collaterally challenging

           the constitutional validity of those qualifications?

                       S TATEMENT     OF THE     C ASE
I.   To promote public safety, § 922(n) bars receiving a gun while
     under felony indictment.

     Section 922(n) states: “It shall be unlawful for any person who is un-
der indictment for a crime punishable by imprisonment for a term


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exceeding one year to … receive any firearm or ammunition which has

been shipped or transported in interstate or foreign commerce.”

     The federal prohibition in § 922(n) has existed in some form since

1938. That year, Congress passed the Federal Firearms Act, limiting gun

access by people under indictment as well as convicted felons. United States

v. Laurent, 861 F. Supp. 2d 71, 82 (E.D.N.Y. 2011); see United States v.

Skoien, 614 F.3d 638, 640 (7th Cir. 2010) (noting that the “first federal stat-
ute disqualifying felons from possessing firearms was not enacted until

1938” (citing Federal Firearms Act of 1938, ch. 850, § 2(f), 52 Stat. 1250,

1251)). The Federal Firearms Act restricted those under indictment for or
convicted of crimes of violence. Laurent, 861 F. Supp. 2d at 82. It sought

to protect the public by “eliminat[ing] the guns from the crooks’ hands,

while interfering as little as possible with the law-abiding citizen.” S. Rep.
No. 82, 75th Cong., 1st Sess. 2 (1937). Congress believed that the restricted

classes of people had, “by their past conduct, … demonstrated their unfit-

ness to be entrusted with such dangerous instrumentalities” as guns and

ammunition. Cases v. United States, 131 F.2d 916, 921 (1st Cir. 1942).

     In 1961, Congress expanded the prohibitions to include all crimes. Id.

at 83. And in 1968, Congress passed the Gun Control Act, which updated

the restrictions on gun access by people under indictment and by convicted

felons. Id. Among other things, the Gun Control Act “clarified the defini-

tion of ‘indictment’ to include an information or indictment in any court—
state or federal—if the court had power to prosecute any crime punishable

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by more than one year in prison.” Id. (emphasis original). Like the Federal

Firearms Act, the Gun Control Act “reflects a concern with keeping fire-

arms out of the hands of categories of potentially irresponsible persons.”

Id. (cleaned up) (quoting Barrett v. United States, 423 U.S. 212, 220 (1976)).

“In 1986, Congress again revised the statute to combine the provisions of

§ 922(g)(1) and (h)(1) that dealt with indictees into a single section,

§ 922(n).” Id. at 84. The statutory text has not substantively changed since
then.

II. Quiroz bought a handgun while under two felony indictments

     Quiroz was indicted in Texas state court for burglary of a habitation,

a second-degree felony. (ROA.55, 105.) See Tex. Penal Code § 30.02(c)(2).

He pled not guilty and was released on bond. (ROA.106.) After he failed

to appear for a hearing in his burglary case, he was also indicted for bail

jumping, a third-degree felony. (ROA.57, 106.) See Tex. Penal Code
§ 38.10(f).

     While under those felony indictments—and still at large—Quiroz

bought a handgun from a hardware store. (ROA.106.) He filled out an
ATF form on which he denied that he was under indictment. (ROA.61,

106.) The National Instant Criminal Background Check System (NICS)

returned a delayed response, meaning that the store could not give Quiroz

the gun until he cleared the check or seven days passed. (ROA.106.) Seven

days passed without a response, and so Quiroz retrieved the gun.


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(ROA.106.) Soon after, NICS denied the purchase and informed ATF that

Quiroz had illegally received the gun. (ROA.106.)

III. A jury convicted Quiroz of making a false statement and
     receiving a gun while under felony indictment.

     Quiroz was charged with (1) making a false statement while buying

a gun, see 18 U.S.C. § 922(a)(6); and (2) receiving a gun while under felony

indictment, see id. § 922(n). (ROA.13–14.)

     Before trial, Quiroz moved to dismiss the indictment, claiming that

§ 922(n) violates the Second Amendment. (ROA.38–48.) He also claimed

that because Congress could not constitutionally prohibit those under in-
dictment from receiving guns, he could not be convicted under § 922(a)(6)

of falsely denying that he was under indictment. (ROA.51.)

     The district court denied Quiroz’s motion. (ROA.105–16.) To start,

the court agreed with the government that the § 922(a)(6) charge survived

regardless of § 922(n)’s constitutionality. (ROA.108–09; see ROA.74–76.)

It observed that the charge was “directed at [Quiroz’s] false statements; it
is not a charge to enforce the statute claimed to be unconstitutional.”

(ROA.108–09.) Quiroz could not defeat “a prosecution directed at [his]

fraud [] based on the argument that § 922(n) is unconstitutional.”
(ROA.109.)

     Turning to Quiroz’s Second Amendment challenge to § 922(n), the

court applied this Court’s pre-Bruen test, which asked, first, whether the

challenged law burdens conduct within the Second Amendment’s scope

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and, if so, whether the law survives means-end scrutiny. (ROA.110–11

(citing Nat’l Rifle Ass’n of Am., Inc. v. ATF, 700 F.3d 185, 194 (5th Cir.

2012)).) At the first step, the court concluded that because Quiroz was pre-

sumed innocent of the state charges until proven guilty, he “remain[ed] a

law-abiding citizen” who enjoyed Second Amendment rights while under

indictment. (ROA.112.) At the second step, however, the court concluded

that § 922(n) survives intermediate scrutiny because it substantially and
directly relates to an important public-safety interest. (ROA.113–14.)

     A jury convicted Quiroz of both counts in the federal indictment.

(ROA.192.)

IV. Quiroz challenged § 922(n) under Bruen’s Second Amendment
    framework.

     On the same day as the verdict in this case, the Supreme Court de-
cided New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S. Ct. 2111

(2022). The Court struck down New York’s “may-issue” licensing law,

which allowed the executive to issue a license for public carry only on a

showing of “proper cause.” Id. at 2123. The Court clarified that means-

end scrutiny is inconsistent with its Second Amendment precedents. Id. at

2127–29. It said: “When the Second Amendment’s plain text covers an
individual’s conduct, the Constitution presumptively protects that con-

duct. The government must then justify its regulation by demonstrating

that it is consistent with the Nation’s historical tradition of firearm regu-
lation.” Id. at 2129–30.

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     Based on Bruen, Quiroz moved for judgment of acquittal or reconsid-

eration of his motion to dismiss. (ROA.210–24.) He observed that Bruen

displaced this Court’s two-step test for assessing Second Amendment

claims. (ROA.213–14.) And he challenged § 922(n) under Bruen’s frame-

work, both facially and as applied to him. (ROA.223, 253, 254–56.) He

argued that his conduct was covered at Bruen’s first, textual inquiry be-

cause his “status as an individual under indictment is not relevant to
whether the Second Amendment protects the conduct.” (ROA.217.) And

he argued, at Bruen’s second inquiry, that § 922(n) is inconsistent with the

nation’s historical tradition of gun regulation. (ROA.219–24.)
     The government opposed dismissal. (ROA.231–49.) First, the gov-

ernment argued that the Second Amendment’s plain text does not cover

receiving a gun while under felony indictment. (ROA.240–41.) Second,
the government argued that § 922(n) squares with the nation’s historical

tradition of gun regulation, pointing to historical laws disarming poten-

tially dangerous or “unvirtuous” citizens. (ROA.242–45.) The government

also pointed to historical restrictions on the liberties of those accused (but

not convicted) of wrongdoing, including pretrial detention and release

conditions (ROA.247), as well as “surety” laws requiring those accused of

posing a threat to post a bond before carrying a gun (ROA.248–49).




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V. The district court ruled that § 922(n) facially violates the Second
   Amendment and dismissed the indictment.

     The district court granted reconsideration and dismissed the indict-

ment, ruling that § 922(n) facially violates the Second Amendment.

(ROA.285–309.) First, the court held that the Second Amendment’s plain

text covered Quiroz. According to the court, the “conduct” burdened by
§ 922(n) is not “buying a gun while under felony indictment” but rather “‘re-

ceipt’ of a firearm—nothing more.” (ROA.289–90 (quotation marks omit-

ted).) Whether the government can restrict receipt “for a specific group of
people,” the court said, “would fall under Bruen’s second step: the histori-

cal justification for that regulation.” (ROA.290.)

     Second, the court concluded that § 922(n) is inconsistent with histor-
ical tradition. To start, the court dismissed an analogy to restrictions on

convicted felons as insufficiently rooted in history. (ROA.293–95.) Alt-

hough the Supreme Court had endorsed felon-in-possession laws in Dis-
trict of Columbia v. Heller, 554 U.S. 570 (2008), that endorsement “was in

dicta.” (ROA.294.) The court then summarized historical gun laws dating

to the colonial period and concluded that it was “unclear” and “unproven”

whether there exists “a historical justification for disarming those indicted,

but not yet convicted, of any crime.” (ROA.295–97.) The court also re-

jected the government’s analogy to surety laws as regulating guns
“through materially different means.” (ROA.298–99.) 1
1
  The court sua sponte raised and rejected other possible analogies to cir-
cumstances in which legislatures restrict rights that the Constitution re-
serves to “the people.” It cited the Article II right to choose members of
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     Last, the court expressed “other reasons” it thought “§ 922(n) evokes

constitutional scrutiny.” (ROA.304.) First, the court opined that “the na-

ture of grand jury proceedings … casts a shadow of constitutional doubt

on § 922(n).” (ROA.304.) It observed that grand-jury proceedings are not

adversarial and that defendants sometimes lack the right to a grand jury

in state court. (ROA.304–05.) Second, the court compared § 922(n) to his-

torical laws used as pretexts to “disarm disfavored groups.” (ROA.306–
07.) Third, the court observed that some pre-Heller precedents upholding

§ 922(n) rested on the view that the Second Amendment establishes a “col-

lective” rather than individual right. (ROA.307–08.) See Heller, 554 U.S.
570 (rejecting the collective-right view and holding that the Second

Amendment protects an individual right to bear arms).

     The court declared that because it was holding § 922(n) facially un-
constitutional, it “need[ed] not answer whether § 922(n) is unconstitu-

tional as applied to” Quiroz. (ROA.309 n.119.) In addition—although the

parties had provided no further briefing or argument on the issue—the

court reversed its earlier ruling on the § 922(a)(6) charge, holding that, if

§ 922(n) is unconstitutional, “then [Quiroz’s] false statement during the

purchase of the firearm is immaterial.” (ROA.286.) The court gave no ex-

planation for the reversal.



the House and the First Amendment right to assemble but concluded that
in neither circumstance did historical restrictions apply to those under in-
dictment. (ROA.301–04.)

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                     S UMMARY   OF THE     A RGUMENT

     Congress passed § 922(n)’s narrow prohibition of receiving guns

while under felony indictment decades ago, and it had never been held

unconstitutional until the decision below. A jury convicted Quiroz of vio-

lating that prohibition. Bruen does defeat his conviction. Rather, Bruen ad-

dressed a sweeping public-carry ban, subject only to case-by-case executive

discretion. Although the Court clarified the analytical framework applica-
ble to Second Amendment claims, it did not upset the applecart of federal

gun regulation that has persisted for decades. Nor did the Court retract its

past assurances that the Constitution permits a range of narrow, status-
based gun restrictions. Indeed, the Court insisted that its holding did not

put legislatures in a “regulatory straightjacket.” This Court should reverse

the district court’s ruling that § 922(n) violates the Second Amendment.
     I. A felony indictment allows a range of liberty restrictions that

would otherwise violate the indicted defendant’s constitutional rights. An

indictment reflects a grand jury’s probable-cause finding that the defend-

ant committed a serious crime. That finding is enough to temporarily al-

low substantial restrictions on many constitutional rights to promote the

administration of justice—the government can seize an indicted defend-

ant’s assets or even detain him pending trial. The “presumption of inno-

cence” does not preserve freedom before trial but merely allocates the bur-

den of proof at trial, prohibiting criminal punishment before the



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government proves the defendant’s guilt beyond a reasonable doubt. There

is no reason to treat Second Amendment rights any differently.

     II. Quiroz cannot show that the Second Amendment’s plain text cov-

ered his conduct, an issue on which he has the burden. The Second

Amendment’s text codified a preexisting right that belongs only to law-

abiding, responsible citizens. A person’s status as non-law-abiding, there-

fore, counts at Bruen’s first, textual step. Many courts—both before and
after Bruen—have recognized that the Second Amendment does not pro-

hibit legislatures from restricting the gun rights of people whose status or

actions show that they will unlikely obey the law.
     A person’s status as an indicted felony defendant puts him outside the

law-abiding citizens whom the Second Amendment presumptively pro-

tects. As set forth above, probable cause that a person committed a serious
crime is sufficient to trigger a range of liberty restrictions, including pre-

trial detention. And the power to detain an indicted defendant necessarily

encompasses the power to impose some lesser liberty restrictions. Thus, a

felony indictment is sufficient evidence that a person is non-law-abiding

to temporarily suspend his Second Amendment rights.

     III. Even if the Second Amendment’s text does not exclude indicted

defendants, the nation’s historical tradition supports restricting their gun

rights. Bruen’s historical inquiry requires only a relevantly similar histori-

cal analogue, not a historical twin. And because the Second Amendment
tolerates any law the founding generation would have believed

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permissible—not just laws that happened to exist—a court must consider

whether a modern law squares with the broader attitudes that the histori-

cal record demonstrates.

     Three types of laws each establish a historical tradition consistent

with § 922(n). First, American jurisdictions have always detained some in-

dicted defendants pending trial, thus temporarily stripping them of all gun

rights and many other constitutional liberties. Those broad restrictions
support § 922(n)’s far lesser restriction on an indicted defendant’s gun

rights. Second, § 922(n) squares with the tradition of categorically disarm-

ing specific groups deemed dangerous or untrustworthy. Third, § 922(n)
squares with historical surety laws requiring those accused of posing a

threat to post a bond before carrying guns.

     IV. At a minimum, the district court erred in holding § 922(n) facially
unconstitutional without determining whether it could constitutionally be

applied to Quiroz. It could.

     Facial challenges are disfavored and should be granted only as a last

resort. A facial challenge requires the challenger to show that no circum-

stances exist under which the law would be valid—that it is unconstitu-

tional in all its applications. When a party challenges a law both facially

and as applied, a court should first consider the narrower as-applied chal-

lenge.

     The district court defied these principles. The court skipped Quiroz’s
as-applied challenge and considered only his broader facial challenge. It

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then held § 922(n) facially unconstitutional without determining that it

lacks any constitutional application. That is wrong: no reading of the Sec-

ond Amendment would cover every circumstance under which an in-

dicted defendant might obtain a gun. Section 922(n) is constitutional as

applied to Quiroz, whose conduct portrayed a danger and flight risk that

would have allowed him to be constitutionally detained pending trial and

subjected to other historical liberty restrictions.
     V. No matter how this Court decides § 922(n)’s constitutionality, it

should reinstate his conviction on count one, charging that Quiroz made

a false statement in violation of § 922(a)(6). The Supreme Court has re-
peatedly recognized that a person cannot defend against a charge that he

lied about complying with a statutory requirement by claiming that the

requirement is unconstitutional. The Court has applied this rule even to
crimes like § 922(a)(6) requiring a material false statement. The district

court correctly applied this rule in its order denying Quiroz’s original mo-

tion to dismiss. It erred by inexplicably reversing course in its final order.

                         S TANDARD     OF   R EVIEW

     This Court “review[s] preserved challenges to the constitutionality of

a criminal statute de novo.” United States v. Howard, 766 F.3d 414, 419 (5th

Cir. 2014).




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                                A RGUMENT

I.   Governments can subject indicted defendants to many liberty
     restrictions—including gun restrictions—that would otherwise
     violate their constitutional rights.

     The Supreme Court has recognized that an indictment “eliminates”

some constitutional liberties. Kaley v. United States, 571 U.S. 320, 329

(2014). The “inviolable grand jury finding … may do more than com-

mence a criminal proceeding (with all the economic, reputational, and
personal harms that entails); the determination may also serve the purpose

of immediately depriving the accused of her freedom.” Id. An indictment

triggers an arrest warrant without further inquiry into the case’s strength
or, if the person is already arrested, “eliminates her Fourth Amendment

right to a prompt judicial assessment of probable cause to support any

detention.” Id. (citing Gerstein v. Pugh, 420 U.S. 103, 114, 117 n.19 (1975)).
For federal crimes, the indictment “may play a significant role in” the de-

tention decision itself since the Bail Reform Act creates a presumption of

detention “if ‘there is probable cause to believe’ [the defendant] commit-

ted certain serious crimes.” Id. at 329 n.6 (citing 18 U.S.C. § 3142(e)(2)–

(3), (f)). Kaley held that the government can also freeze an indicted defend-

ant’s forfeitable assets—even if the defendant needs them to pay a law-

yer—without violating the Fifth Amendment due-process right or Sixth

Amendment right to counsel. Id. at 327–28. If the grand jury’s probable-

cause finding is “reliable enough, protective enough” to “restrain persons,”
then it must be sufficient to restrain property. Id.

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     Similarly, the Supreme Court has held that pretrial detention based

on future dangerousness under the Bail Reform Act violates neither the

Fifth Amendment due process right nor the Eighth Amendment prohibi-

tion of excessive bail. United States v. Salerno, 481 U.S. 739, 754–55 (1987).

The Court collected circumstances under which an individual’s Fifth

Amendment liberties yield to “the government’s regulatory interest in

community safety,” explaining that “[e]ven competent adults may face
substantial liberty restrictions as a result of the operation of our criminal

justice system.” Id. at 748–49 (citing Gerstein, 420 U.S. 103). The Court

concluded that detaining defendants based on dangerousness was a valid
exercise of “the well-established authority of the government, in special

circumstances, to restrain individuals’ liberty prior to or even without a

criminal trial and conviction.” Id. at 749. While the Court noted that the
Bail Reform Act authorizes detention only after an adversarial proceeding

at which the government must show that the defendant poses a threat, see

id. at 750–51, it did not suggest that the Constitution bars Congress from

categorically restricting some defendants’ liberties. Indeed, as set forth in

more detail below, nothing in the Constitution bars Congress from man-

dating detention “in entire classes of cases.” See United States v. Stephens,

594 F.3d 1033, 1039 (8th Cir. 2010) (relying on that principle to uphold

the Adam Walsh Act’s mandatory pretrial release conditions categorically

restricting some defendants’ liberties).



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     The Court has also upheld restraints on pretrial detainees’ First

Amendment liberties. See Bell v. Wolfish, 441 U.S. 520, 550 (1979). After

rejecting Fourth and Fifth Amendment challenges by pretrial detainees to

their conditions of confinement, see id. at 541, 544, the Court considered

whether the First Amendment allowed prison officials to prohibit them

from receiving books and magazines other than from the publisher or a

book club, see id. at 549–51. The Court held that the prohibition did not
violate the First Amendment but was a rational response to security con-

cerns. Id. at 550. The Court cited, among other factors supporting its hold-

ing, the prohibition’s temporary impact on detainees. Id. at 552.
     Given the indictment’s historical role, the “presumption of inno-

cence” is no impediment to denying indicted defendants these constitu-

tional liberties. (See ROA.112, 214–15, 262.) Rather, that “presumption”
is a trial right—“an inaccurate, shorthand description” of the govern-

ment’s burden to prove guilt beyond a reasonable doubt. Bell, 441 U.S. at

533 (quoting Taylor v. Kentucky, 436 U.S. 478, 484 n.12 (1978)); see also

Estelle v. Williams, 425 U.S. 501, 503 (1976) (explaining that the presump-

tion protects “the fairness of the fact-finding process” and “guard[s]

against dilution of the principle that guilt is to be established by probative

evidence and beyond a reasonable doubt”). The presumption “has no ap-

plication” to determining an indicted defendant’s liberties “before his trial

has even begun.” Bell, 441 U.S. at 533.



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     There is no reason to treat Second Amendment rights differently

from these other constitutional liberties. Bruen announced that its “Second

Amendment standard accords with how [the Court] protect[s] other con-

stitutional rights.” 142 S. Ct. at 2130 (comparing the Second Amendment

to the First and Fourth Amendments); see also id. at 2137, 2157 (comparing

the Second Amendment to the First and Sixth Amendments). Heller too

“repeatedly compared the right to keep and bear arms” to the First
Amendment, id. at 2130 (citing Heller, 554 U.S. at 582, 595, 606, 618, 634–

635), as well as the Fourth Amendment, see Heller, 554 U.S. at 579, 582,

592. Thus, if an indictment is constitutionally sufficient to trigger (some-
times presumptive) detention and the seizure of the indicted defendant’s

assets, see Kaley, 571 U.S. 327–28, and to restrict his First Amendment

rights, see Bell, 441 U.S. at 550, then it must be sufficient to temporarily
restrict his right to bear arms too.

II. The Second Amendment’s plain text does not cover receiving
    guns while under felony indictment.

     This Court need not decide whether § 922(n) squares with the na-

tion’s historical tradition of gun regulation because it burdens no conduct

covered by the Second Amendment’s text. Quiroz has the burden at this
step to show that the Second Amendment applies. He cannot carry his

burden because the Second Amendment right extends only to law-abiding

citizens, a community that excludes indicted defendants.



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     A. The party challenging a gun regulation has the burden of
        showing that the Second Amendment’s text covers him.
     In Bruen, the Supreme Court did not address which party has the bur-

den of showing that the Second Amendment’s text covers—and thus “pre-

sumptively protects”—the conduct at issue. See 142 S. Ct. at 2130. But it
implied that the party challenging a gun regulation has that initial burden.

     To repeat, Bruen proceeded in two steps: it asked, first, whether the

Second Amendment’s plain text covers the conduct at issue and, second,
whether the regulation squares with the nation’s tradition of gun regula-

tion. See, e.g., id. at 2126, 2130. At step two, the Court assigned the gov-

ernment the burden of offering historical evidence to support the regula-
tion. Id. To do so, the Court analogized to “the freedom of speech in the

First Amendment, to which Heller repeatedly compared the right to keep

and bear arms.” Id. at 2130 (citing Heller, 554 U.S. at 582, 595, 606, 618,
634–635). The Court did not need to say which party has the burden at

step one since the parties did not dispute that the respondents were law-

abiding adults whom the Second Amendment covered and that publicly
carrying handguns for protection fell within “the right to keep and bear

arms.” Id. at 2134.

     Continuing the Supreme Court’s First Amendment analogy, the

party challenging a gun regulation has the burden at step one. Although

the government has the burden of justifying a restriction on the freedom

of speech, the party challenging the restriction must show that the First
Amendment applies in the first place. See, e.g., Harmon v. City of Norman,

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Oklahoma, 981 F.3d 1141, 1147 (10th Cir. 2020) (“Plaintiffs had the initial

burden of showing that the First Amendment applies to their conduct.”

(citing Clark v. Cmty. for Creative Non-Violence, 468 U.S. 288, 294 n.5 (1984));

Church of Am. Knights of the Ku Klux Klan v. Kerik, 356 F.3d 197, 205 (2d

Cir. 2004) (“The party asserting that its conduct is expressive bears the

burden of demonstrating that the First Amendment applies.”). Here too,

Quiroz has the burden of showing that the Second Amendment applies
to—and thus presumptively protects—his conduct.

     B.   Indicted defendants are not law-abiding, responsible citizens
          whom the Second Amendment covers.
     The Second Amendment codified a preexisting understanding of the

right to bear arms as covering only law-abiding, responsible citizens. A

felony indictment rests on probable cause that the defendant committed a

serious crime and thus excludes the indicted defendant from the law-abid-

ing citizens entitled to bear arms. The district court thus erred in holding

that Quiroz’s status as an indicted defendant is irrelevant to Bruen’s first,

textual inquiry. (ROA.289–90.)

     1. The Second Amendment does not cover all citizens. “[T]he Sec-
ond Amendment, like the First and Fourth Amendments, codified a pre-

existing right,” neither “granted by the Constitution” nor “dependent upon

that instrument for its existence.” Heller, 554 U.S. at 592; see also id. at 599
(explaining that “the Second Amendment was not intended to lay down a

‘novel principl[e]’ but rather codified a right ‘inherited from our English


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ancestors.’” (quoting Robertson v. Baldwin, 165 U.S. 275, 281 (1897)). So

the right to bear arms is “enshrined with the scope [it was] understood to

have when the people adopted [it].” Id. at 634–35.

     “The founders understood that not everyone possessed Second

Amendment rights.” Range v. Att’y Gen., 53 F.4th 262, 271 (3d Cir. 2022)

(brackets omitted). And while Heller did not exhaustively analyze “the full

scope of the Second Amendment,” it explained that the Second Amend-
ment is “not unlimited” and noted some limits that have always been un-

derstood to bound the right. 554 U.S. at 626. The Court identified a non-

exhaustive list of “presumptively lawful regulatory measures,” including
the “longstanding prohibitions on the possession of firearms by felons and

the mentally ill.” Id. at 626–27 & n.26; see also McDonald v. City of Chicago,

561 U.S. 742, 786 (2010) (repeating Heller’s “assurances” about restrictions
on felons and the mentally ill). The Second Amendment’s scope excludes

those people because it codified a “right of law-abiding, responsible citi-

zens.” See Heller, 554 U.S. at 635.

     Bruen confirmed that a person’s status as non-law-abiding counts at

its first, textual step. Echoing Heller, the Court explicitly, repeatedly de-

scribed the right as belonging only to law-abiding citizens. See, e.g., Bruen,

142 S. Ct. at 2122 (stating that Heller “recognized that the Second and

Fourteenth Amendments protect the right of an ordinary, law-abiding cit-

izen to possess a handgun in the home for self-defense”); id. at 2131 (quot-
ing Heller’s statement that the Second Amendment protects “‘the right of

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law-abiding, responsible citizens to use arms’ for self-defense”); id. at 2133

(stating that the historical inquiry should consider “how and why the reg-

ulations burden a law-abiding citizen’s right to armed self-defense”); id. at

2156 (holding that New York’s licensing law violates the Second Amend-

ment because “it prevents law-abiding citizens with ordinary self-defense

needs from exercising their right to keep and bear arms”); see also Range,

53 F.4th at 271 (noting that “the [Bruen] majority characterized the holders
of Second Amendment rights as ‘law-abiding’ citizens no fewer than four-

teen times”). None of those references suggest that the Second Amend-

ment curbs laws restricting the gun rights of non-law-abiding citizens.
     Three more aspects of the Bruen opinion further confirm that a per-

son’s status as non-law-abiding counts at its first, textual step:

     First, the Bruen opinion itself addressed whether the petitioners were
law-abiding citizens in the section (III.A) addressing the Second Amend-

ment’s textual scope, not the section (III.B) addressing historical tradition.

See 142 S. Ct. at 2134. The Court observed that the parties did not dispute

“that petitioners Koch and Nash—two ordinary, law-abiding, adult citi-

zens—are part of ‘the people’ whom the Second Amendment protects.”

Id. (citing Heller, 554 U.S. at 580). The Court thus implied that the Second

Amendment covered them because they were undisputedly law-abiding, re-

sponsible citizens.

     Second, Bruen (along with Heller) set contrary presumptions depend-
ing on whether a law prevents law-abiding citizens from bearing arms. As

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noted, Heller established that laws disarming “felons and the mentally

ill”—and some other gun regulations—are “presumptively lawful.” 554

U.S. at 626 & n.26. In contrast, Bruen held that “when the Second Amend-

ment’s plain text covers an individual’s conduct, the Constitution pre-

sumptively protects that conduct,” so that laws prohibiting the conduct are

presumptively unlawful. 142 S. Ct. at 2126. Bruen’s presumptive protection

could be “[i]n keeping with” Heller’s presumption of lawfulness, see id.,
only if Heller’s “presumptively lawful” regulations burden no conduct cov-

ered by the amendment’s text. In other words, at least some status-based

restrictions of people considered non-law-abiding or irresponsible—“fel-
ons and the mentally ill”—are “presumptively lawful” because the Second

Amendment’s text excludes them.

     Third, Bruen explained that its opinion should not “be interpreted to
suggest the unconstitutionality of the 43 States’ ‘shall-issue’ licensing re-

gimes,” which “do not necessarily prevent ‘law-abiding, responsible citi-

zens’ from exercising their Second Amendment right.” 142 S. Ct. at 2138

n.9 (citing Heller, 554 U.S. at 635); see also id. at 2161 (Kavanaugh, J. con-

curring) (“[T]he 43 States that employ objective shall-issue licensing re-

gimes for carrying handguns for self-defense may continue to do so.”).

Those regimes require background checks and set “narrow, objective, and

definite standards” meant to ensure “that those bearing arms in the juris-

diction are, in fact, law-abiding, responsible citizens.” Id. at 2138 n.9 (quo-
tation marks omitted). And many states’ standards disqualify indicted

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defendants or anyone prohibited by federal law from having a gun. 2 By
indicating that those regimes remain broadly constitutional (unless

abused, as when “lengthy wait times … or exorbitant fees deny ordinary

citizens their right to public carry”), the Court implied that the Second
Amendment’s text excludes people (like indicted defendants) considered

non-law-abiding. Otherwise, the 43 states’ many objective criteria disqual-

ifying applicants for licenses—and thus preventing them from bearing
arms—could survive only through case-by-case, historical inquiries. The

Court suggested no such thing. 3

     In Bruen’s wake, several courts have interpreted the Second Amend-
ment as covering only law-abiding citizens. In rejecting a challenge to

§ 922(g)(1)’s prohibition of gun possession by convicted felons, the Third

Circuit explained that “[t]hose whose criminal records evince disrespect


2
  See, e.g., Ariz. Rev. Stat. § 13-3112(E)(3) (requiring that the applicant “[i]s
not under indictment for and has not been convicted in any jurisdiction of
a felony … and [that] the applicant is currently not a prohibited possessor
under state or federal law”); Ky. Rev. Stat. § 237.110(4)(a) (requiring that
the applicant “[i]s not prohibited from the purchase, receipt, or possession
of firearms, ammunition, or both pursuant to 18 U.S.C. 922(g), 18 U.S.C.
922(n), or applicable federal or state law”); La. Stat. § 40:1379.3(C)(10)
(requiring that the applicant “not be charged under indictment or a bill of
information for any crime of violence or any crime punishable by impris-
onment for a term of one year or greater”); Tenn. Code § 39-17-1351(c)(7)
(requiring that “the applicant is not currently under indictment or infor-
mation for any criminal offense that is designated as a felony, or that is [a]
disqualifying misdemeanor[]”).
3
  The breadth and variability of objective criteria applied by the 43 shall-
issue states was not lost on the Court, which collected citations to all the
licensing regimes and described how some work. See Bruen, 142 S. Ct. at
2123 n.1.

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for the law are outside the community of law-abiding citizens entitled to

keep and bear arms.” Range, 53 F.4th at 273. The court “[i]nterpret[ed] the

text of the Second Amendment in light of the right’s ‘historical back-

ground,’” id. at 282 (quoting Bruen, 142 S. Ct. at 2127), surveying histori-

cal status-based gun laws from 1600s England through the amendment’s

ratification, see id. at 274–81. It held that the Second Amendment’s scope

“properly excludes those who have demonstrated disregard for the rule of
law through the commission of felony and felony-equivalent offenses,

whether or not those crimes are violent.” Id. at 266. 4

     Some courts held the same before Bruen in textual analyses that Bruen
deemed “broadly consistent” with Supreme Court precedent. See 142 S.

Ct. 2127. Like Range, Medina v. Whitaker rejected a challenge to § 922(g)(1)


4
  Many district courts have likewise rejected post-Bruen challenges to sta-
tus-based gun laws on the ground that the restricted people are not law-
abiding, responsible citizens whom the Second Amendment covers. See,
e.g., United States v. Fencl, No. 21-CR-3101 JLS, 2022 WL 17486363, at *2
(S.D. Cal. Dec. 7, 2022) (holding that an indicted defendant on pretrial
release fell “outside the scope of [the Second Amendment’s] protections
as he has been charged with unlawful possession of firearms based on a
finding of probable cause”); United States v. Grinage, No. SA-21-CR-00399-
JKP, 2022 WL 17420390, at *5 (W.D. Tex. Dec. 5, 2022) (explaining that
Heller and Bruen “lead[] the Court to conclude convicted felons like Gri-
nage are not included in ‘the people’ protected by the Second Amend-
ment”); United States v. Young, No. CR 22-054, 2022 WL 16829260, at *7
(W.D. Pa. Nov. 7, 2022) (“Bruen, Heller and McDonald dictate that Defend-
ant’s alleged conduct does not fall within the scope of the Second Amend-
ment’s protections due to his felony drug convictions.”); United States v.
Grant, No. CR 3:22-161-MGL-1, 2022 WL 16541138, at *3 (D.S.C. Oct.
28, 2022) (“By distinguishing non-law-abiding citizens from law-abiding
ones, the dicta in Heller and McDonald clarifies the bounds of the plain text
of the Second Amendment.”).

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as applied to a nonviolent felon. 913 F.3d 152, 157–58 (D.C. Cir. 2019).

To determine “the public understanding of the right” when the Second

Amendment was ratified, the Court considered the severe punishments

felons then faced, as well as evidence that the founders understood the

right to exclude “those who were not (or could not be) virtuous members

of the community.” Id. at 158–59. The court held that felons—violent or

not—“are not among the law-abiding, responsible citizens entitled to the
protections of the Second Amendment.” Id. at 154; accord United States v.

Vongxay, 594 F.3d 1111, 1115 (9th Cir. 2010) (holding that “felons are cat-

egorically different from the individuals who have a fundamental right to
bear arms”).

     Courts have reasoned similarly for other groups considered irrespon-

sible or non-law-abiding. For instance, the Eighth Circuit rejected a chal-
lenge to § 922(g)(8), which prohibits gun possession by people subject to

domestic-violence restraining orders. United States v. Bena, 664 F.3d 1180,

1184 (8th Cir. 2011). The court relied on Heller’s description of the right

to bear arms as protecting law-abiding citizens. Id. And it observed that

the Supreme Court most likely “viewed the regulatory measures it

listed”—like restrictions on felons and the mentally ill—“as presumptively

lawful because they do not infringe the Second Amendment right.” Id. at

1183. The court thus held that § 922(g)(8) “is consistent with a common-

law tradition that the right to bear arms is limited to peaceable or virtuous
citizens.” Id. at 1184; see also United States v. Carpio-Leon, 701 F.3d 974, 975

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(4th Cir. 2012) (holding “that the scope of the Second Amendment does

not extend to provide protection to illegal aliens, because illegal aliens are

not law-abiding members of the political community”).

     2. Quiroz’s pending felony indictments excluded him from the law-

abiding citizens whom the Second Amendment covers. The Supreme

Court has not precisely defined the community of law-abiding, responsi-

ble citizens who enjoy the right to bear arms. It has given no indication,
however, that only a felony conviction establishes that a person is non-law-

abiding. To the contrary, it has explained that laws disarming “felons and

the mentally ill” were part of a non-exhaustive list of “presumptively law-
ful” restrictions. Heller, 554 U.S. at 626–27 & n.26 (emphasis added). Had

the Court meant to require a criminal conviction to negate a citizen’s sta-

tus as law-abiding, it could easily have said so.
     Thus, applying Heller and Bruen, courts have defined the excluded

people more broadly. According to the Third Circuit, the Second Amend-

ment excludes those “whose actions demonstrated a disrespect for the rule

of law as embodied in the sovereign’s binding norms,” leaving legislatures

“discretion to determine when individuals’ status or conduct evinced such

a threat sufficient to warrant disarmament.” Range, 53 F.4th at 280–81; see

also Bena, 664 F.3d at 1184 (holding that the Second Amendment excludes

those who pose a threat of domestic violence “[a]lthough persons re-

stricted by § 922(g)(8) need not be convicted of an offense involving do-
mestic violence”).

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     Precedents construing other constitutional rights confirm that in-

dicted felony defendants are insufficiently law-abiding to enjoy Second

Amendment rights. As set forth above, probable cause that a person com-

mitted a crime—and especially indictment by a grand jury for a serious

crime—allows many liberty restrictions that would otherwise violate the

Constitution. See supra, Part I. By the same token, a felony indictment suf-

ficiently establishes the indicted defendant’s status as non-law-abiding that
the Second Amendment does not “presumptively protect[]” his right to

bear arms. See Bruen, 142 S. Ct. at 2126. The right to bear arms—like the

other rights to which the Supreme Court has compared it—yields to the
government’s regulatory interest in promoting “community safety” and

“preventing crime by arrestees.” See Salerno, 481 U.S. at 748–49.

     One court applying Bruen to an indicted defendant reached exactly
that conclusion. See United States v. Fencl, No. 21-CR-3101 JLS, 2022 WL

17486363, at *2 (S.D. Cal. Dec. 7, 2022). Fencl held that a pretrial release

condition barring gun possession, see 18 U.S.C. § 3142(c)(1)(B)(viii), does

not violate the Second Amendment. Id. The court reasoned that the de-

fendant fell outside the amendment’s scope because “he has been charged

with unlawful possession of firearms based on a finding of probable

cause.” Id. It rejected the defendant’s appeal to the presumption of inno-

cence, explaining that it “does not deprive the Government of the ability

to place significant, but temporary, restrictions on an accused’s



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constitutional rights in order to further its interest in community safety.”

Id. (citing Salerno, 481 U.S. at 748). This Court should hold the same.

III. Section 922(n) squares with the nation’s historical tradition of
     gun regulation.

     Even if the Second Amendment covers indicted defendants, § 922(n)

is consistent with the right to bear arms because it squares with historical

tradition. When comparing modern and historical gun laws, courts must

often “reason[] by analogy,” which “requires a determination of whether

the two regulations are relevantly similar.” Bruen, 142 S. Ct. at 2132 (quo-

tation marks omitted). Bruen gave no “exhaustive survey of the features
that render regulations relevantly similar” but noted “two metrics: how

and why the regulations burden a law-abiding citizen’s right to armed self-

defense.” Id. at 2132–33. In other words, the central inquiry is “whether

modern and historical regulations impose a comparable burden on the

right of armed self-defense and whether that burden is comparably justi-

fied.” Id. at 2133.
     “[A]nalogical reasoning,” the Court continued, is not “a regulatory

straightjacket.” Id. at 2133. It “requires only that the government identify

a well-established and representative historical analogue, not a historical
twin.” Id.; see also Nat’l Rifle Ass’n of Am., Inc. v. Bureau of Alcohol, Tobacco,

Firearms, & Explosives, 700 F.3d 185, 196 (5th Cir. 2012) (“Heller demon-

strates that a regulation can be deemed ‘longstanding’ even if it cannot

boast a precise founding-era analogue.”). “So even if a modern-day

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regulation is not a dead ringer for historical precursors, it still may be anal-

ogous enough to pass constitutional muster.” Bruen, 142 S. Ct. at 2133.

     Bruen’s guidance forecloses simply “comparing the modern law un-

der review with the laws of a couple of centuries ago, like a redline com-

parison in a word processing application.” United States v. Kelly, No. 3:22-

CR-00037, 2022 WL 17336578, at *2 (M.D. Tenn. Nov. 16, 2022) (uphold-

ing § 922(n)). That is “because a list of the laws that happened to exist in the
founding era is, as a matter of basic logic, not the same thing as an ex-

haustive account of what laws would have been theoretically believed to be

permissible by an individual sharing the original public understanding of
the Constitution.” Id. A court conducting Bruen’s historical inquiry must

not only “consider what earlier legislatures did, but imagine what they

could have imagined.” Id.
     Finally, Bruen’s history inquiry does not split neatly into (1) a

“straightforward” approach for laws “address[ing] a general societal prob-

lem that has persisted since the 18th century,” which always requires a

“distinctly similar” historical regulation; and (2) “a more nuanced ap-

proach” for laws addressing “unprecedented societal concerns,” which

calls for analogical reasoning. (See ROA.259–64, 266–67, 279–80.) Bruen

itself considered a law addressing a persistent problem, id. at 2131–32, but

still scoured centuries of English and American history for relevantly sim-

ilar analogues, see id. at 2135–56. The Court did not say that “the lack of
a distinctly similar historical regulation” is dispositive for laws addressing

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a persistent problem—only that it “is relevant evidence.” 142 S. Ct. at

2131. Otherwise, some restrictions that the founders would have “believed

to be permissible” would fail just because they “happened [not] to exist in the

founding era.” See Kelly, 2022 WL 17336578, at *2.

     Three distinct historical threads sustain § 922(n)’s restriction on in-

dicted felony defendants: (1) historical liberty restrictions on indicted de-

fendants, including pretrial detention; (2) historical laws restricting the
gun rights of groups deemed dangerous or untrustworthy to obey the law;

and (3) historical surety laws restricting the gun rights of people accused

of posing a threat. Each of these three has been held sufficient in Bruen’s
wake to establish a tradition supporting modern gun restrictions on in-

dicted defendants. See Fencl, 2022 WL 17486363, at *3; United States v. Pe-

rez-Garcia, No. 22-CR-1581-GPC, 2022 WL 17477918, at *4–5 (S.D. Cal.
Dec. 6, 2022); Kelly, 2022 WL 17336578, at *5; United States v. Slye, No.

1:22-MJ-144, 2022 WL 9728732, at *2–3 (W.D. Penn. Oct. 6, 2022);

United States v. Kays, No. CR-22-40-D, 2022 WL 3718519, at *4–5 (W.D.

Okla. Aug. 29, 2022). This Court should hold the same.

     A. Section 922(n) is analogous to historical laws allowing
        pretrial detention of indicted defendants.
     Because legislatures can constitutionally deprive indicted defendants

of their liberty, they necessarily can impose the lesser restriction of tem-
porarily prohibiting receipt of firearms. Indicted defendants lack an abso-

lute right to freedom pending trial. “There is no constitutional right to


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bail.” Clara Kalhous, et al., Bail Pending Trial, Changing Interpretations of the

Bail Reform Act & the Importance of Bail from Defense Attorneys’ Perspective, 32

Pace L. Rev. 800, 800 (2012) (citing William Duker, The Right to Bail: A

Historical Inquiry, 42 Alb. L. Rev. 33, 34 (1977)); see also United States v.

Perry, 788 F.2d 100, 111 (3d Cir. 1986) (observing that most “federal courts

that have addressed the issue have held that there is no absolute right to

bail”); United States v. Edwards, 430 A.2d 1321, 1327 (D.C. 1981) (observ-
ing that “a fundamental right to bail was not universal among the colonies

or among the early states” and explaining that historical bail rights were

statutory, not constitutional). While the Eight Amendment forbids exces-
sive bail, it “fails to say all arrests must be bailable.” Carlson v. Landon, 342

U.S. 524, 546 (1952). Rather, it “was lifted with slight changes from the

English Bill of Rights Act,” which was never “thought to accord a right to
bail in all cases.” Id. Legislatures thus retain the power to “defin[e] the

classes of cases in which bail shall be allowed.” Id.; see also Stephens, 594

F.3d at 1039 (8th Cir. 2010) (observing that “Congress may ban bail in

entire classes of cases”).

     American legislatures have always provided for pretrial detention of

some indicted defendants. “Capital defendants have been excluded from

bail”—and thus detained—“since the colonial days, and there is some ev-

idence that this exclusion was a public-safety measure.” Sandra G. May-

son, Dangerous Defendants, 127 Yale L.J. 490, 502 (2018); Slye, 2022 WL
9728732, at *2 (“The precedent for denial of pretrial release to those

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accused of crimes dates to the early days of the Republic—indeed to Eng-

lish common law.”). The Judiciary Act of 1789—passed two years before

the Second Amendment’s ratification—embraced this principle. It pro-

vided that a defendant accused of a federal crime could “be arrested, and

imprisoned or bailed, as the case may be, for trial.” Act of Sept. 24, 1789,

ch. XX, 1 Stat. 73, § 33 (1789). Bail was allowed “except where the pun-

ishment may be death, in which cases it shall not be admitted but by [a
court or judge], who shall exercise their discretion therein, regarding the

nature and circumstances of the offence, and of the evidence, and the us-

ages of law.” Id.
     At the founding, moreover, detention in capital cases swept broadly

because many serious crimes were punishable by death. Capital crimes

“included nonviolent offenses that we recognize as felonies today, such as
counterfeiting currency, embezzlement, and desertion from the army.” Me-

dina, 913 F.3d at 158; see also Range, 53 F.4th at 280 (“Historically, several

non-violent felonies were punishable by death and forfeiture of the perpe-

trator’s entire estate.”); Furman v. Georgia, 408 U.S. 238, 355 (1972) (Mar-

shall, J., concurring) (listing capital crimes in colonial New England, in-

cluding “idolatry,” “blasphemy,” “assault in sudden anger,” “adultery,”

“perjury in a capital trial,” and “rebellion”). “Capital punishment for fel-

onies was ubiquitous in the late Eighteenth Century and was the standard

penalty for all serious crimes.” Medina, 913 F.3d at 158 (cleaned up).



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     The historical tradition of detaining defendants charged with serious

crimes supports restricting their right to receive guns while under indict-

ment. The power to detain necessarily encompasses the power to impose

some lesser liberty restrictions. Cf. Kaley, 571 U.S. at 330 (reasoning that

“it would be odd to conclude” that the government cannot seize forfeitable

assets on a grand jury’s probable-cause finding when “that showing is of-

ten sufficient to restrain persons” (cleaned up)); Stephens, 594 F.3d at 1039
(reasoning that Congress’s power to ban bail in some cases implies the

power to impose “the Adam Walsh Act’s much less restrictive mandatory

release conditions” requiring a curfew and electronic monitoring). Indeed,
the founding generation may have foregone gun (and other liberty) re-

strictions specifically targeting those charged with serious crimes as un-

necessary because they were often detained.
     Thus, applying Bruen, some district courts have upheld gun re-

strictions on indicted defendants based on the nation’s history of pretrial

detention. In Slye, the court rejected a Second Amendment challenge to

§ 3142(c)(1)(B)(viii), authorizing the pretrial release condition prohibiting

gun possession, and the district’s “standard condition” implementing it.

See 2022 WL 9728732, at *2–3. The court explained that “[i]t would be

illogical to conclude” that a court has the authority to detain an indicted

defendant, thus denying him many constitutional rights, “but lacks the au-

thority to impose far less severe restrictions, such as ordering his release
on bond with a firearms restriction.” Id. at *2. “Given the long-standing

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precedent for denial of pretrial release and its attendant right to possess

firearms,” the court ruled that § 3142(c)(1)(B)(viii) squares with historical

tradition. Id. at *3; see also Fencl, 2022 WL 17486363, at *3 (upholding

§ 3142(c)(1)(B)(viii) based partly on “this Nation’s historical tradition of

pretrial detention (and its attendant restrictions on an individual’s Second

Amendment rights)”).

     This Court should similarly hold that § 922(n) is analogous to histor-
ical laws allowing pretrial detention. The main difference is that legisla-

tures have often given courts discretion whether to detain indicted defend-

ants, whereas § 922(n) categorically restricts their right to receive guns. But
legislatures’ historical power to define bailable crimes, and thus to “ban

bail in entire classes of cases,” shows that the Constitution tolerates at least

some categorical restrictions. See Stephens, 594 F.3d at 1039. Stephens cited
that historical power as supporting another type of categorical restriction

on indicted defendants: the Walsh Act’s mandatory pretrial release




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conditions for some sex offenses. See id. (rejecting a facial challenge to the

Walsh Act’s curfew and electronic-monitoring conditions). 5

     At the same time, § 922(n) imposes a far lesser burden on an indicted

defendant than does pretrial detention. See Bruen, 142 S. Ct. at 2133 (ex-

plaining that a central consideration in analogical reasoning is whether the

historical restriction comparably burdens the right to armed self-defense).

Pretrial detention strips a defendant of all Second Amendment rights and
severely restricts many other “core constitutional rights,” like freedom of

speech, freedom of association, and reasonable privacy expectations. See

Slye, 2022 WL 9728732, at *2 & n.4. In contrast, § 922(n) imposes “a
much narrower prohibition on obtaining new weapons during the period

of time in which a person is the subject of an active felony prosecution.”

Kelly, 2022 WL 17336578, at *6. That narrow prohibition squares with the
historical tradition of severely restricting indicted defendants’ liberties.




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  See also United States v. Peeples, 630 F.3d 1136, 1138–39 (9th Cir. 2010)
(rejecting facial and as-applied challenges to the curfew and electronic-
monitoring conditions); United States v. Kennedy, 327 F. App’x 706, 707
(9th Cir. 2009) (vacating the district court’s ruling that the Walsh Act’s
mandatory conditions were unconstitutional as applied to the defendant,
ordering the district court to impose those conditions on remand, and not-
ing that two “are absolute by their own terms—defendant shall have no
contact with the alleged victim and potential witnesses and shall refrain
from possessing a firearm, destructive device, or other dangerous
weapon”). Although some district courts have questioned the constitu-
tionality of the Walsh Act’s mandatory conditions, the government has
found no appellate precedent holding them unconstitutional since Con-
gress imposed them in 2006.

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     B.   Section 922(n) is analogous to historical laws disarming
          dangerous or untrustworthy people.
     Section 922(n) is also analogous to laws disarming dangerous or un-

trustworthy people. English and American governments have long re-

stricted some people’s gun rights to promote public safety. In 1662, for
example, England empowered officers to “seize all arms in the custody or

possession of any person” whom they “judge[d] dangerous to the Peace

of the Kingdom.” Militia Act of 1662, 13 & 14 Car. 2, c.3, § 13 (1662); see
Bruen, 142 S. Ct. at 2140 (calling “particularly instructive” the period of

English history “between the Stuart Restoration in 1660 and the Glorious

Revolution in 1688” (cleaned up)). At the same time, “the act of ‘going
armed to terrify the King’s subjects’ was ‘a great offence at the common

law’” if committed with “evil intent or malice.” Bruen, 142 S. Ct. at 2141

(brackets and italics omitted) (quoting Sir John Knight’s Case, 87 Eng. Rep.
75, 76 (K.B. 1686)). Thus, “by the time of American independence, Eng-

land had established a well-practiced tradition of disarming dangerous

persons—violent persons and disaffected persons perceived as threatening
to the crown.” Joseph G.S. Greenlee, The Historical Justification for Prohib-

iting Dangerous Persons from Possessing Firearms, 20 Wyo. L. Rev. 249, 261

(2020); see id. at 259–61 (detailing history).

     The American colonies inherited that tradition. “The historical rec-

ord shows that gun safety regulation was commonplace in the colonies,

and around the time of the founding, a variety of gun safety regulations



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were on the books.” Nat’l Rifle, 700 F.3d at 200. 6 The colonies (and later
the states) passed laws that “prohibit[ed] bearing arms in a way that

spreads ‘fear’ or ‘terror’ among the people.” Bruen, 142 S. Ct. at 2145.

Those statutes “all but codified the existing common law in this regard.”
Id. at 2144 n.14 (citing George Webb, The Office and Authority of a Jus-

tice of Peace 92 (1736)). Before the ratification of the Second Amendment

in 1791, at least four colonies or states had codified the common-law pro-
hibition on going armed offensively and authorized the arrest of those

who did so. See 1 Acts and Resolves, Public and Private, of the Province

of the Massachusetts Bay 52–53 (1869) (1692 statute); Acts and Laws of
His Majesty’s Province of New Hampshire in New England; with Sundry

Acts of Parliament 17 (1771) (1701 statute); 1 Laws of the State of North

Carolina, including the Titles of Such Statutes and Parts of Statutes of

Great Britain as Are in Force in Said State 131–32 (1821) (1741 statute);

Collection of All Such Acts of the General Assembly of Virginia, of a

Public and Permanent Nature, as Are Now in Force 33 (1794) (1786


6
  Bruen abrogated National Rifle’s application of means-end scrutiny to the
Second Amendment. See 142 S. Ct. at 2127 n.4. But this Court was “in-
clined to uphold the challenged federal laws at step one of [its pre-Bruen]
analytical framework,” see Nat’l Rifle, 700 F.3d at 204, which relied on text
and history and was “broadly consistent with Heller,” see Bruen, 142 S. Ct.
at 2127. Nothing in Bruen abrogates this Court’s or other courts’ textual
or historical analyses at “step one” of their pre-Bruen frameworks. See
United States v. Grinage, No. SA-21-CR-00399-JKP, 2022 WL 17420390, at
*2 (W.D. Tex. Dec. 5, 2022) (“[T]o the extent pre-Bruen cases relied on
textual and historical analysis to find firearms restrictions constitutional,
those cases are still good law.”).

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statute). Three of those statutes (all but North Carolina) required forfei-

ture of the offender’s weapons. Other states soon followed. See, e.g., A

Compilation of the Statutes of Tennessee of a General and Permanent

Nature, from the Commencement of the Government to the Present Time

99–100 (1836) (1801 statute).

     Also “noteworthy” among “revolutionary and founding-era gun reg-

ulations are those that targeted particular groups for public safety rea-
sons.” Nat’l Rifle, 700 F.3d at 200. “The earliest firearm legislation in co-

lonial America prohibited Native Americans, Black people, and inden-

tured servants from owning firearms.” Range, 53 F.4th at 276. 7 And, as the

English Parliament had done after the Glorious Revolution, some colonies

passed laws disarming Catholics who refused “to take oaths recognizing

the legal authority of the Crown, rather than the Pope, over matters of

religion.” Id. at 277. Protestant majorities in those colonies disarmed

Catholics because they “viewed Catholics as defying sovereign authority

and communal values.” Id.
     During the revolutionary war, “several jurisdictions passed laws that

confiscated weapons owned by persons who refused to swear an oath of

allegiance to the state or to the nation.” Nat’l Rifle, 700 F.3d at 200. In


7
  As Range observed, these laws are repugnant and would be unconstitu-
tional today; yet they show that “legislatures had the power and discretion
to use status as a basis for disarmament, and … that status-based bans did
not historically distinguish between violent and non-violent members of
disarmed groups.” 53 F.4th at 276 n.18.

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Range, the Third Circuit described several such laws, including a 1774

Connecticut law and 1777 laws passed by Pennsylvania and Virginia. 53

F.4th at 278–79; see also Medina, 913 F.3d at 159 (explaining that “during

the revolution, the states of Massachusetts and Pennsylvania confiscated

weapons belonging to those who would not swear loyalty to the United

States”); Robert H. Churchill, Gun Regulation, the Police Power, and the Right

to Keep Arms in Early America: The Legal Context of the Second Amendment,
25 Law & Hist. Rev. 139, 157–60 (2007); Saul Cornell & Nathan DeDino,

A Well Regulated Right: The Early American Origins of Gun Control, 73 Ford-

ham L. Rev. 487, 506–08 (2004); Joyce Lee Malcolm, To Keep and Bear
Arms 140–41 (1994). Like laws disarming Catholics, these oaths laws dis-

armed not just violent individuals but also those who demonstrated “dis-

respect for the rule of law and the norms of the civic community.” Range,
53 F.4th at 279 (citing Churchill, Gun Regulation, 25 Law & Hist. Rev. at

158).

     Accounts of the ratification debates confirm the founders’ belief that

“disarming select groups for the sake of public safety was compatible with

the right to arms specifically and with the idea of liberty generally.” Nat’l

Rifle, 700 F.3d at 200. “Heller identified … as a ‘highly influential’ ‘precur-

sor’ to the Second Amendment the Address and Reasons of Dissent of

the Minority of the Convention of the State of Pennsylvania to Their Con-

stituents.” United States v. Skoien, 614 F.3d 638, 640 (7th Cir. 2010) (en
banc) (quoting 554 U.S. at 604); see also Range, 53 F.4th at 280. That report

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recognized that the government could disarm potentially dangerous or un-

trustworthy people, stating that “citizens have a personal right to bear

arms ‘unless for crimes committed, or real danger of public injury.’” Id. (em-

phasis added) (quoting 2 Bernard Schwarz, The Bill of Rights: A Docu-

mentary History 662, 665 (1971)). Similarly, Samuel Adams offered an

amendment at the Massachusetts convention to ratify the Constitution

recommending “that the said Constitution be never construed to authorize
Congress … to prevent the people of the United States, who are peaceable

citizens, from keeping their own arms.” Schwarz, The Bill of Rights 674–

75, 681 (emphasis added). Thomas Cooley’s 1868 treatise, which Heller
described as “massively popular,” 554 U.S. at 616, later explained that

some groups were “almost universally excluded” from exercising certain

civic rights like gun rights, including “the idiot, the lunatic, and the felon,
on obvious grounds.” Thomas M. Cooley, A Treatise on the Constitu-

tional Limitations Which Rest Upon the Legislative Power of the States

of the American Union 29 (1st ed. 1868).

     “[M]ost scholars of the Second Amendment agree that the right to

bear arms was tied to the concept of a virtuous citizenry and that, accord-

ingly, the government could disarm ‘unvirtuous citizens.’” United States v.

Yancey, 621 F.3d 681, 684–85 (7th Cir. 2010) (per curiam) (quoting

Vongxay, 594 F.3d at 1118 (collecting scholarly sources)); Carpio-Leon, 701

F.3d at 979–80 (same). The Second Amendment thus incorporates “a
common-law tradition that permits restrictions directed at citizens who

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are not law-abiding and responsible” and “‘does not preclude laws disarm-

ing the unvirtuous (i.e. criminals).’” Bena, 664 F.3d at 1183–84 (quoting

Don B. Kates, Jr., The Second Amendment: A Dialogue, 49 Law & Contemp.

Probs. 143, 146 (1986)); see also United States v. Rene E., 583 F.3d 8, 15–16

(1st Cir. 2009) (“Perhaps the most accurate way to describe the dominant

understanding of the right to bear arms in the Founding era is as … limited

to those members of the polity who were deemed capable of exercising it
in a virtuous manner.” (quoting Saul Cornell, “Don’t Know Much About

History”: The Current Crisis in Second Amendment Scholarship, 29 N. Ky. L.

Rev. 657, 679 (2002))).
     The tradition of disarming dangerous or untrustworthy people sup-

ports § 922(n)’s restriction on indicted defendants. It gives legislatures

“both authority and broad discretion to determine when individuals’ sta-
tus or conduct evince[s] such a threat sufficient to warrant disarmament.”

Range, 53 F.4th at 282. It therefore supports gun restrictions on not just

convicted felons or violent people, but also others deemed untrustworthy

to obey the law. See id. Section 922(n) is “relevantly similar” to these his-

torical precursors under the “two metrics” Bruen offered: “how and why

the regulations burden” Second Amendment rights. See 142 S. Ct. at 2132–

33. As to “how” § 922(n) operates, like these precursors, it uses an objec-

tive criterion to categorically restrict a specific group’s gun rights. As to

“why,” § 922(n) seeks “to combat violence and promote public safety” by
“keeping firearms out of the hands of categories of potentially

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irresponsible persons.” Laurent, 861 F. Supp. 2d at 82 (ellipses omitted).

Section 922(n) thus represents a permissible legislative judgment that a

person’s status as an indicted felony defendant warrants disarmament.

     One court deciding a post-Bruen challenge to § 922(n) has agreed.

That court held that § 922(n) squares with “the common law tradition of

gun regulation permit[ing] the disarming of certain classes of individuals

based on questions regarding whether those individuals had been peacea-
ble and/or law-abiding.” Kelly, 2022 WL 17336578, at *5 (quotation

marks omitted). “Because 18 U.S.C. § 922(n) is of a piece with the type of

laws that were treated as consistent with the historical right to bear arms,”
it does not violate the Second Amendment even though it “diverges from

those laws in some specifics.” Id. at *5 n.7. The court cited three other

factors supporting its holding. First, § 922(n) “relies on an objective crite-
rion rather than government discretion (other than the discretion to indict

the person in the first place).” Id. at *5. Second, § 922(n)’s restriction is

temporary, “last[ing] only from indictment to conviction or acquittal.” Id.

And third, § 922(n) is “tied to the administration of justice, an area in

which individuals ‘may face substantial liberty restrictions,’ at least for

limited periods of time, in the name of maintaining the integrity and func-

tioning of the relevant proceedings.” Id. at *6 (quoting Salerno, 481 U.S. at

749).

     Kelly exposed the flaw in the district court’s analogical reasoning
here. The court here incorrectly demanded “a minutely precise analogy to

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historical prohibitions.” Kelly, 2022 WL 17336578, at *5 n.7. Indeed, the

court here understood Bruen as requiring the government to “prove a his-

torical tradition for every regulation restricting a specific subgroup,” which

it acknowledged “creates an almost insurmountable hurdle” and an “up-

hill battle.” (ROA.300 (emphasis added).) But that understanding defies

Bruen’s commands that analogical reasoning is not “a regulatory straight-

jacket” and that courts need not demand a “dead ringer” or “historical
twin.” See 142 S. Ct. at 2133; see also Heller, 554 U.S. at 636 (explaining

that the Second Amendment leaves legislatures with “a variety of tools”

for combating gun violence). Kelly corrected the district court’s error here
by evaluating § 922(n) “in light of the broader attitudes and assumptions

demonstrated by” historical restrictions on dangerous or untrustworthy

people. See 2022 WL 17336578, at *5 n.7. Because Kelly properly modeled
Bruen’s historical inquiry, this Court should adopt its reasoning.

     C. Section 922(n) is analogous to historical surety laws.
     Finally, English and American surety laws establish a historical tra-

dition supporting § 922(n). In general, surely laws “required certain indi-

viduals to post bond before carrying weapons in public.” Bruen, 142 S. Ct.

at 2148. Surety laws burdened people’s right to bear arms “only if another
could make out a specific showing of reasonable cause to an injury or

breach of the peace.” Id. (cleaned up). They are relevantly similar to

§ 922(n) because, like § 922(n), they promote public safety by temporarily

restricting the gun rights of people believed to pose a threat.

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       In England, a “surety of the peace followed an accusation by some-

one that an individual would likely violate the law in the future.” Young v.

Hawaii, 992 F.3d 765, 791 n.12 (9th Cir. 2021) (en banc), vacated, 142 S.

Ct. 2895 (2022); see also Wrenn v. District of Columbia, 864 F.3d 650, 661

(D.C. Cir. 2017) (explaining that English surety laws required a person

“reasonably accused of posing a threat” “to post a bond to be used to cover

any damage he might do” by carrying a gun). According to Blackstone,
“wherever any private man ha[d] just cause to fear, that another will burn

his house, or do him a corporal injury, by killing, imprisoning, or beating

him; … he [could] demand surety of the peace against such person.” 4
William Blackstone, Commentaries on the Laws of England 252 (1769).

And if the accused did not “find such sureties, as the justice [of the peace]

in his discretion s[hould] require, he [could] immediately be committed
till he [did].” Id. The surety was “intended merely for prevention, without

any crime actually committed by the party, but arising only from a proba-

ble suspicion, that some crime [wa]s intended or likely to happen.” Id. at

249.

       Like other English traditions, the surety practice was adopted in the

American colonies. See William Rawle, A View of the Constitution of the

United States of America 126 (2d ed. 1829). Under a 1759 New Hamp-

shire law, for instance, authorities could arrest a person who went armed

in a threatening manner. Acts and Laws of His Majesty’s Province of New
Hampshire in New England 1 (1759). On “confession” or “legal proof ”

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of the offense, authorities could “commit the offender to prison, until he

or she f[ound] such sureties for the peace and good behaviour, as [was]

required,” and could “cause the arms or weapons so used by the offender,

to be taken away, which shall be forfeited and sold for his Majesty’s use.”

Id. at 1–2. Even earlier colonial laws contained similar provisions. See 1

Acts and Resolves, Public and Private, of the Province of the Massachu-

setts Bay 52–53 (1869) (1692 statue); 2 Statutes at Large of Pennsylvania
from 1682 to 1801, 23 (1896) (1700 statute); 1 Laws of the State of Dela-

ware from the Fourteenth Day of October, One Thousand Seven Hun-

dred, to the Eighteenth Day of August, One Thousand Seven Hundred
and Ninety-Seven 52 (1797) (1700 statute); Acts and Laws of His Maj-

esty’s Province of New Hampshire in New England; with Sundry Acts of

Parliament 17 (1771) (1701 statute); Acts and Laws of His Majesties Col-
ony of Connecticut in New England 91 (1901) (1702 statute).

     In 1836, Massachusetts passed the state surety law discussed in Bruen.

142 S. Ct. at 2148 (citing Mass. Rev. Stat. ch. 134, § 16 (1836)); see Heller,

554 U.S. at 605 (considering “how the Second Amendment was inter-

preted from immediately after its ratification through the end of the 19th

century” (italics omitted)). That law “required any person who was rea-

sonably likely to ‘breach the peace,’ and who, standing accused, could not

prove a special need for self-defense, to post a bond before publicly carry-

ing a firearm.” Id. “Between 1838 and 1871, nine other jurisdictions



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adopted variants of the Massachusetts law.” Id. at 2148 & n.23 (collecting

citations).

     Surety laws establish a historical tradition sufficient to support mod-

ern gun restrictions on indicted defendants. See Fencl, 2022 WL 17486363,

at *3; Perez-Garcia, 2022 WL 17477918, at *4–5; Kays, 2022 WL 3718519,

at *4–5. Kays ruled “that the surety laws discussed in Bruen are proper

historical analogues for § 922(n).” Id. at *5. Like surety laws, § 922(n) pre-
sumes that people have a right to bear arms and burdens that right only on

a showing that someone poses a threat. Id. at *4. Even then, like surety

laws, § 922(n) restricts the accused’s gun rights only temporarily, while the
indictment is pending. Id.; see 4 Blackstone 249–50 (explaining that surety

laws’ restrictions applied only for a specified time). And while surety laws

generally required an individualized showing that the restricted person
was threatening or dangerous, see Bruen, 142 S. Ct. at 2148, a felony in-

dictment serves an analogous function. That is, Congress permissibly de-

termined that people whom a grand jury credibly accuses of having com-

mitted a felony are categorically likely to abuse guns. See Cases, 131 F.2d

at 921 (explaining that § 922(n)’s predecessor applied to those whose con-

duct “demonstrated their unfitness to be entrusted with such dangerous

instrumentalities” as guns). So they are categorically threatening enough

to warrant temporary gun restrictions.

     Like laws disarming dangerous or untrustworthy people, moreover,
surety laws are “relevantly similar” to § 922(n) under the “why” and

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“how” metrics that Bruen offered. See 142 S. Ct. at 2132–33. Addressing

the federal pretrial release condition prohibiting gun possession by an in-

dicted defendant, § 3142(c)(1)(B)(viii), one court explained that the release

condition and surety laws “serve the same purpose: public safety.” Fencl,

2022 WL 17486363, at *3. “Neither prohibition is meant as a form of

punishment.” Id. They also both “further this purpose in the same man-

ner: temporarily burdening the Second Amendment rights of individuals
reasonably likely to breach the peace.” Id.; see also Perez-Garcia, 2022 WL

17477918, at *5 (concluding that the surety practice “clearly resembles”

the release condition). Because § 922(n) similarly promotes public safety
by temporarily restricting indicted defendants’ gun rights, the same rea-

soning applies here.

     For those reasons, the district court was wrong that surety laws em-
ploy “materially different means” than § 922(n). (ROA.299.) In distin-

guishing surety laws from § 922(n), the court also noted that § 922(n) re-

quires no “adversarial proceeding.” (ROA.299.) But many surety laws

similarly required no level of proof and applied to anyone “reasonably

accused.” See Bruen, 142 S. Ct. at 2148–49; 4 Blackstone 249. Finally, the

district court observed that, unlike § 922(n), surety laws did not completely

ban public carry but allowed it if the accused proved a special need or

posted a bond. (ROA.299.) Neither does § 922(n) ban public carry; it pro-

hibits only receipt of new guns while under indictment, while allowing the
indicted defendant to possess and carry any guns he already had.

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Regardless, as with the government’s other historical analogies, the district

court’s reasoning incorrectly demanded “minute[] precis[ion],” see Kelly,

2022 WL 17336578, at *5 n.7, while ignoring that surety laws address the

same basic problem as § 922(n) in an analogous way.

IV. At a minimum, § 922(n) is constitutional as applied to Quiroz, a
    question the district court did not reach.

     While Parts I though III, supra, establish that § 922(n) is constitu-

tional in all its applications, at a minimum, the district court erred in hold-

ing § 922(n) facially unconstitutional without determining whether it

could constitutionally be applied to Quiroz. It could.
     Facial challenges “should be granted sparingly and only as a last re-

sort.” United States v. McGinnis, 956 F.3d 747, 752–53 (5th Cir. 2020). A

party bringing a facial challenge can succeed only “by ‘establishing that
no set of circumstances exists under which the Act would be valid,’ i.e.,

that the law is unconstitutional in all of its applications.” Washington State

Grange v. Washington State Republican Party, 552 U.S. 442, 449 (2008) (quot-

ing Salerno, 481 U.S. at 745) (brackets omitted). “When a litigant brings

both as-applied and facial challenges, [the Court] generally decide[s] the

as-applied challenge first because it is the narrower consideration.” Bu-
chanan v. Alexander, 919 F.3d 847, 852 (5th Cir. 2019).

     The district court defied these principles. For one thing, the court

skipped Quiroz’s as-applied challenge and ruled on his broader facial chal-
lenge first. (ROA.309 & n.119.) Beyond that, the court purported to hold

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that § 922(n) is facially unconstitutional without determining “that no set

of circumstances exists under which [it] would be valid.” Washington State

Grange, 552 U.S. at 449 (quoting Salerno, 481 U.S. at 745). The court nei-

ther recited nor applied Salerno’s standard. Instead of asking whether

§ 922(n) has any valid application, the court offered hypothetical scenarios

that, in its view, might raise constitutional concerns. The court attacked

§ 922(n) because it might restrict the gun rights of someone indicted based
on grand jury testimony that violated the Fourth of Fifth Amendments,

or in state-court proceedings that afforded no grand-jury right. (ROA.304–

05.) The court also implied that the government might use § 922(n) “to
pretextually and unlawfully disarm disfavored groups.” (ROA.306.) But

the record contains no whiff of these things. The court thus inverted the

proper inquiry, ruling based in part on “speculat[ion] about hypothetical
or imaginary cases.” See Washington State Grange, 552 U.S. at 450 (quota-

tion marks omitted).

     No proper application of Salerno’s standard could sustain the district

court’s ruling that § 922(n) is facially unconstitutional. At least some ap-

plications of § 922(n) surely violate no Second Amendment rights. For in-

stance, given Heller’s statement (repeated in Bruen) that the Second

Amendment affords no right to carry “dangerous and unusual weapons,”

554 U.S. at 627, the amendment would not bar prosecuting someone who

obtained such a weapon while under indictment. Nor would the amend-
ment bar prosecuting an indicted defendant who obtained a gun to

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facilitate his escape since Heller “described the right protected by the Sec-

ond Amendment as ‘bearing arms for a lawful purpose.’” Id. at 620 (em-

phasis added).

     Section 922(n) is constitutional as applied to Quiroz. Had Quiroz

been arrested and brought before a court at the moment when he bought

the gun, the Constitution would have allowed him to be detained based on

the obvious danger and flight risk he posed. He not only had been indicted
for home burglary but also had breached the state court’s trust by jumping

bail. (ROA.55, 105–06.) He was indicted for that too. (ROA.57, 106.) He

then lied to the federal government about his indictments so that he could
buy the gun. (ROA.61, 106.) And if the government could have detained

Quiroz—necessarily stripping him of all gun rights—then surely it could

impose § 922(n)’s lesser restriction without violating the Second Amend-
ment. See supra, Parts I, II.B, III.A. By the same token, the other historical

traditions described above support, at a minimum, prohibiting someone

with Quiroz’s specific characteristics from obtaining a gun while his in-

dictments were pending. He could be disarmed consistently with the com-

mon law tradition of disarming dangerous or untrustworthy people. See

supra, Part III.B. And his actions demonstrated a sufficient threat that he

could be prohibited from receiving guns consistently with the surety tradi-

tion. See supra, Part III.C.




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V. Even if § 922(n) violates the Second Amendment, the district
   court erroneously dismissed the false-statement charge.

     No matter how this Court decides § 922(n)’s constitutionality, it

should reverse the dismissal of count one, charging that Quiroz violated

§ 922(a)(6).    (ROA.13–14.)      Section 922(a)(6)     prohibits    knowingly

“mak[ing] any false or fictitious oral or written statement” in connection
with buying a gun “with respect to any fact material to the lawfulness of

the sale.” The district court erred in holding—contrary to its initial deci-

sion—that Quiroz could not be prosecuted for lying about his indictments
if he could not be constitutionally prohibited from buying a gun on that

basis.

     The proper mechanism for challenging an allegedly unconstitutional
statutory requirement is to sue, not to lie about having complied with it.

Thus, “one who furnishes false information to the Government in feigned

compliance with a statutory requirement cannot defend against prosecu-
tion for his fraud by challenging the validity of the requirement itself.”

United States v. Knox, 396 U.S. 77, 79 (1969). The Supreme Court demon-

strated this rule’s application in Dennis v. United States, 384 U.S. 855 (1966).

Congress barred Communists from holding office in labor unions. Id. at

857–58. The Court held that defendants who had lied about being Com-

munists could not justify the lies on the ground that the statutory prohibi-
tion violated the First Amendment. Id. at 864–66. It explained:
         It is no defense to a charge … that the statutory scheme
         sought to be evaded is somehow defective. Ample opportu-
         nities exist in this country to seek judicial protection. There

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        is no reason for this Court to consider the constitutionality
        of a statute at the behest of petitioners who have been in-
        dicted for conspiracy by means of falsehood and deceit to
        circumvent the law which they now seek to challenge.

Id. at 866.

     The Supreme Court has therefore “consistently—indeed, without ex-

ception—allowed sanctions for false statements” even when the govern-

ment allegedly exceeded its constitutional powers in making the inquiry

that elicited the false statement. United States v. Mandujano, 425 U.S. 564,
577 (1976) (plurality op.) (collecting cases); see, e.g., Dennis, 384 U.S. at

867; Knox, 396 U.S. at 79; Bryson v. United States, 396 U.S. 64, 72 (1969)

(explaining that “it cannot be thought that as a general principle of our
law a citizen has a privilege to answer fraudulently a question that the

Government should not have asked”); Kay v. United States, 303 U.S. 1, 6

(1938) (“When one undertakes to cheat the Government or to mislead its
officers … by false statements, he has no standing to assert that the opera-

tions of the Government in which the effort to cheat or mislead is made

are without constitutional sanction.”); United States v. Kapp, 302 U.S. 214,

217–18 (1937) (rejecting the argument that a false statement “ceased to be

material because of the unconstitutionality of the provisions of the Agri-

cultural Adjustment Act”).

     This Court applied this principle to § 922(a)(6) in an unpublished

opinion. See United States v. Bledsoe, 334 F. App’x 711 (5th Cir. 2009).

Bledsoe claimed that he could not be prosecuted for lying about his age


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while buying a handgun because § 922(b)(1), barring handgun sales to

people under 21, violated his Second Amendment rights. Id. at 711. But

this Court held that “even assuming the Government could not constitu-

tionally prohibit Bledsoe from purchasing a firearm, ‘it cannot be thought

that as a general principle of our law a citizen has a privilege to answer

fraudulently a question that the Government should not have asked.’” Id.

(quoting Bryson, 396 U.S. at 72).
     The district court correctly applied this principle in its order denying

Quiroz’s original motion to dismiss. (ROA.108–09 (citing Dennis, 384 U.S.

at 867; Kay, 303 U.S. 1; Kapp, 302 U.S. 214; Bledsoe, 334 F. App’x at 711)).
It erred in reversing course without supporting analysis or authority, and

without further input from the parties. (ROA.286.) The court said that if

§ 922(n) were unconstitutional, then Quiroz’s false statement would be
“immaterial.” (ROA.286.) But at least two of the cases discussed above

involved similar materiality elements. See Bryson, 396 U.S. at 65 n.1; Kapp,

302 U.S. at 216. Those cases confirm that, even if a statute requires a ma-

terial falsehood, a person cannot defend against a charge of lying about

compliance with a statutory requirement by claiming that the requirement

is unconstitutional.




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                           C ONCLUSION

    This Court should reverse the district court’s order dismissing Qui-

roz’s indictment.

                                    Respectfully submitted,

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                                     /s/ Charles E. Fowler, Jr.
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                        C ERTIFICATE        OF   S ERVICE

     I certify that on December 30, 2022, I filed this brief through this

Court’s electronic case-filing system, which will serve it on all registered

counsel.

                                        /s/ Charles E. Fowler, Jr.
                                        C HARLES E. F OWLER , J R .
                                        Assistant United States Attorney
                      C ERTIFICATE     OF   C OMPLIANCE

     I certify that
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